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lN THE UN|TED STATES DlSTRlCT COURT l-'ll.Ei'J i"i-"i" ,@(K... D.C.
WESTERN DlSTRlCT OF TENNESSEE
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ii "

 

NANCY NEAGLE,

P|aintiff,

VS. NO. 03-2713-|\/|3

JAIV|ES GANNON, ET AL

Defendants.

TN~P
-PWORDER GRANT|NG MOT|ON TO AMEND SCHEDUL|NG ORDER

This cause came on to be heard on Motion of the Plaintif~f to Amend the
Schedu|ing Order to allow additional time Within Which to mediate the above-referenced
matter. The Court is of the opinion that the |Vlotion is Wel| taken and should be granted

The parties shall mediate this case on or before June 2"°‘, 2005.

lT IS SO ORDERED.
.___________,___»-

 

UN|TED STATES MAGISTRATE JUDGE

oATE: 5" / 13/ aj

   

Thls document entered on the docket
with Flule 58 and/or 79(a) FHCP on

 

 

F TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:03-CV-027]3 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

